                                                               United States Bankruptcy Court
                                                                     Western District of New York
 In re      Gates Community Chapel of Rochester, Inc.                                                             Case No.     2-18-20169
                                                                                 Debtor(s)                        Chapter      11


                                                   BUSINESS INCOME AND EXPENSES
         FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS                              (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
          1. Gross Income For 12 Months Prior to Filing:                                                      $        1,879,143.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
          2. Gross Monthly Income                                                                                                    $             160,000.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
          3. Net Employee Payroll (Other Than Debtor)                                                         $           36,360.00
          4. Payroll Taxes                                                                                                   1,545.23
          5. Unemployment Taxes                                                                                                  0.00
          6. Worker's Compensation                                                                                           2,133.33
          7. Other Taxes                                                                                                         0.00
          8. Inventory Purchases (Including raw materials)                                                                   7,200.00
          9. Purchase of Feed/Fertilizer/Seed/Spray                                                                          3,500.00
          10. Rent (Other than debtor's principal residence)                                                                 2,710.00
          11. Utilities                                                                                                   34,176.31
          12. Office Expenses and Supplies                                                                                   4,650.92
          13. Repairs and Maintenance                                                                                        4,500.00
          14. Vehicle Expenses                                                                                               6,563.31
          15. Travel and Entertainment                                                                                       5,901.59
          16. Equipment Rental and Leases                                                                                     105.00
          17. Legal/Accounting/Other Professional Fees                                                                       4,400.00
          18. Insurance                                                                                                      7,749.08
          19. Employee Benefits (e.g., pension, medical, etc.)                                                                   0.00
          20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                  DESCRIPTION                                                                     TOTAL

          21. Other (Specify):

                  DESCRIPTION                                                                     TOTAL
                  Radio & Postage                                                                 35,569.85

          22. Total Monthly Expenses (Add items 3-21)                                                                                $             157,064.62
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
          23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                              $                2,935.38




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